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                                                CIVIL COVER SHEET
The civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form isrequired for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
INSTRUCTIONS ON THE REVERSE OF THE FORM.)
     (a) PLAINTIFFS                                                                                            DEFENDANTS
             Cathleen Simovic                                                                                   Portfolio Recovery Associates, LLC



     (b)    County of Residence of First Listed Plaintiff Cook                                                 County of Residence of First Listed Defendant Cook
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                   NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                          LAND INVOLVED.

     (c)    Attorney s (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
            The Law Office of M. Kris Kasalo, 111 E. Wacker Dr., Ste. 555
            Chicago, IL 60601 tele 773-847-2600

II. BASIS OF JURISDICTION                             (Place an !X" in One Box Only)        III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an !X" in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                        and One Box for Defendant)
                                                                                                                              PTF         DEF                                       PTF         DEF
     1 U.S. Government                  ■ 3 Federal Question                                       Citizen of This State            1        1     Incorporated or Principal Place             4         4
         Plaintiff                                 (U.S. Government Not a Party)                                                                     of Business In This State

     2 U.S. Government                      4 Diversity                                            Citizen of Another State         2        2     Incorporated and Principal Place            5         5
         Defendant                               (Indicate Citizenship of Parties                                                                    of Business In Another State
                                                 in Item III)
                                                                                                   Citizen or Subject of a          3        3     Foreign Nation                              6         6
                                                                                                     Foreign Country
IV. NATURE OF SUIT                           (Place an !X" in One Box Only)
           CONTRACT                                               TORTS                            FORFEITURE/PENALTY                      BANKRUPTCY                         OTHER STATUTES
     110 Insurance                       PERSONAL INJURY                PERSONAL INJURY                610 Agriculture                   422 Appeal 28 USC 158               400 State Reapportionment
     120 Marine                           310 Airplane                  362 Personal Injury#           620 Other Food & Drug                                                 410 Antitrust
     130 Miller Act                       315 Airplane Product              Med. Malpractice           625 Drug Related Seizure          423 Withdrawal                      430 Banks and Banking
     140 Negotiable Instrument                Liability                 365 Personal Injury #              of Property 21 USC 881           28 USC 157                       450 Commerce/ICC Rates/etc.
     150 Recovery of Overpayment          320 Assault, Libel &              Product Liability          630 Liquor Laws                                                       460 Deportation
       & Enforcement of Judgment              Slander                   368 Asbestos Personal          640 R.R. & Truck                 PROPERTY RIGHTS                      470 Racketeer Influenced and
     151 Medicare Act                     330 Federal Employers             Injury Product             650 Airline Regs.                                                         Corrupt Organizations
                                                                                                                                         820 Copyrights                  ■
     152 Recovery of Defaulted                Liability                     Liability                  660 Occupational                                                      480 Consumer Credit
                                                                                                                                         830 Patent
         Student Loans (excl. vet.)       340 Marine                  PERSONAL PROPERTY                     Safety/Health                                                    490 Cable/Satellite TV
                                                                                                                                         840 Trademark
     153 Recovery of Overpayment          345 Marine Product            370 Other Fraud                690 Other                                                             810 Selective Service
         of Veteran s Benefits                Liability                 371 Truth in Lending                                                                                 850 Security/Commodity/Exch.
     160 Stockholders Suits               350 Motor Vehicle             380 Other Personal                   LABOR                      SOCIAL SECURITY                      875 Customer Challenge
     190 Other Contract                   355 Motor Vehicle                 Property Damage                                                                                      12 USC 3410
                                                                                                       710 Fair Labor Standards          861 HIA (1395ff)
     195 Contract Product Liability           Product Liability         385 Property Damage                                                                                  891 Agricultural Acts
                                                                                                           Act                           862 Black Lung (923)
     196 Franchise                        360 Other Personal Inj.           Product Liability                                                                                892 Economic Stabilization Act
                                                                                                       720 Labor/Mgmt. Relations         863 DIWC/DIWW (405(g))
                                                                                                                                                                             893 Environmental Matters
         REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS                                                  864 SSID Title XVI
                                                                                                                                                                             894 Energy Allocation Act
                                                                                                       730 Labor/Mgmt.Reporting          865 RSI (405(g))
                                                                                                                                                                             895 Freedom of Information Act
     210 Land Condemnation                441 Voting                     510 Motions to Vacate             & Disclosure Act
                                                                                                                                        FEDERAL TAX SUITS                    900 Appeal of Fee
     220 Foreclosure                      442 Employment                     Sentence                  740 Railway Labor Act
                                                                                                                                                                                 Determination Under
     230 Rent Lease & Ejectment           443 Housing/                   Habeas Corpus:
                                                                                                                                        870 Taxes (U.S. Plaintiff                Equal Access to Justice
     240 Torts to Land                        Accommodations             530 General                   790 Other Labor Litigation
                                                                                                                                            or Defendant)                    950 Constitutionality of
     245 Tort Product Liability           444 Welfare                    535 Death Penalty
                                                                                                                                                                                 State Statutes
     290 All Other Real Property          445 ADA#-Employment            540 Mandamus & Other          791 Empl. Ret. Inc.
                                                                                                                                        871 IRS#Third Party                  890 Other Statutory Actions
                                          446 ADA # Other                550 Civil Rights                  Security Act                     26 USC 7609
                                          440 Other Civil Rights         555 Prison Condition

                           (PLACE AN !X" IN ONE BOX ONLY)                                                                                                                             Appeal to District
V. ORIGIN                                                                                                                                                                             Judge from
                                                                                                                         Transferred from
 ■   1     Original          2     Removed from               3     Remanded from                4 Reinstated or       5 another district              6 Multidistrict              7 Magistrate
           Proceeding              State Court                      Appellate Court                Reopened              (specify)                       Litigation                   Judgment
VI. CAUSE OF ACTION                         (Enter U.S. Civil Statute under which you are filing and write         VII. PREVIOUS BANKRUPTCY MATTERS (For nature of
                                            a brief statement of cause.)                                           suit 422 and 423, enter the case number and judge for any associated
                                                                                                                   bankruptcy matter perviously adjudicated by a judge of this Court. Use a
15 USC 1692 et seq FDCPA                                                                                           separate attachment if necessary)


VIII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                    CHECK YES only if demanded in complaint:
    COMPLAINT:                                  UNDER F.R.C.P. 23                                                                                JURY DEMAND:           ■ Yes       No

                                   ■   is not a refiling of a previously dismissed action.
IX. This case
                                       is a refiling of case number                                    , previously dismissed by Judge
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
           11/18/10
                                                                         /s/ M. Kris Kasalo
